
JUSTICE WEBER
delivered the Opinion of the Court.
This is an appeal from the First Judicial district Court, Lewis and Clark County, denying Daniel Bourne’s motion for correction of his sentence. We affirm.
The only question on appeal is whether the District Court erred in denying Bourne’s motion for correction of sentence.
Daniel E. Bourne (Bourne) pled guilty on December 16, 1988, to the offense of Accountability (Deliberate Homicide), a felony, in the shooting of John Ex Roberts. Bourne was sentenced to the Montana State Prison for 40 years. At his sentencing, the judge determined conditions of his parole. One of those conditions involved restitution:
9. That the defendant shall be jointly and severally liable with his convicted co-defendants for the payment of the costs associated with the transportation and burial of the defendant’s victim, John Ex Roberts.
12. That the defendant shall pay the financial obligation imposed by this Judgment to the Restitution Officer of this Court, Penney Sey, on a schedule which the defendant shall devise with the Restitution Officer as soon as practicable following his release from the Montana State Prison if he is released. (Emphasis added.)
Bourne moved the sentencing court on November 20,1992 for a correction of sentence pursuant to § 46-18-117, MCA. Bourne’s contention is that restitution was not intended to be a condition of his parole and because he had no part of his sentence deferred or suspended, restitution was improperly assessed pursuant to State v. Mazurkiewicz (1990), 245 Mont. 172, 799 P.2d 1066.
Mazurkiewicz is not controlling because the restitution in that case was determined as part of defendant’s sentence. In the instant case, Bourne’s ordered restitution is clearly attendant to his parole, if and when that occurs. The District Court concluded that the controlling case was State v. Klippenstein (1989), 239 Mont. 42, 778 P.2d 892. The most recent case on the same issue is State v. Todd (1993), [257 Mont. 321], 849 P.2d 175. In response to the argument made by Bourne in the present case, we stated in Todd as follows:
We previously have upheld a district court’s authority to impose restitution as a condition of parole under Section 46-18-202, MCA, *276on almost identical facts. State v. Klippenstein (1989), 239 Mont. 42, 778 P.2d 892. We were careful to point out in Klippenstein that the condition of restitution would never apply if the defendant served his full term of imprisonment; in other words, the total sentence imposed could never exceed the statutory maximum for the offense. Klippenstein, 778 P.2d at 894. Klippenstein is directly on point and mandates the same result in the case presently before us.
Todd, 849 P.2d at 176. In Todd we pointed out that our concern in Mazurkiewicz was that the totality of defendant’s sentence exceeded the total authorized by law and that no statute authorized such “stacking” of restitution on the maximum statutory term of imprisonment. Todd further pointed out:
Here, as in Klippenstein, the ordered restitution is constitutional; it becomes operative only in the event the defendant secures early release from prison via parole. Thus, it cannot result in a sentence exceeding the statutory maximum. In the event of parole, similar to a deferred or suspended sentence situation, the State maintains considerable authority over the offender for general rehabilitative and protective purposes, and the restrictions or conditions authorized by Section 46-18-202, MCA, lawfully can be imposed.
Todd, 849 P.2d at 176-77.
The specific wording in § 46-18-202, MCA, is as follows:
46-18-202. Additional restrictions on sentence. (1) The district court may also impose any of the following restrictions or conditions on the sentence provided for in 46-18-201 which it considers necessary to obtain the objectives of rehabilitation and the protection of society:
(a) prohibition of the defendant’s holding public office;
(b) prohibition of his owning or carrying a dangerous weapon;
(c) restrictions on his freedom of association;
(d) restrictions on his freedom of movement;
(e) any other limitation reasonably related to the objectives of rehabilitation and the protection of society. (Emphasis added.)
The dissent argues that restitution is not related to defendant’s rehabilitation and is not necessary for the protection of society. We disagree with that analysis.
The correctional policy of this State has been and continues to be punishment for crimes and rehabilitation of the convicted:
*277(2) The correctional policy of the state of Montana is to protect society by preventing crime through punishment and rehabilitation of the convicted. The legislature finds that an individual is responsible for and must be held accountable for his actions. Corrections laws and programs must be implemented to impress upon each individual his responsibility for obeying the law. ... Furthermore, it is the state’s policy that persons convicted of a crime shall be dealt with in accordance with their individual characteristics, circumstances, needs, and potentialities. (Emphasis added.)
Section 46-18-101, MCA.
The district court judge is in the best position to determine what can best help the individual defendant convicted of a crime. The legislature acknowledged this by adding subsection (e) to § 46-18-202(1), MCA. If a particular defendant can best be rehabilitated by requiring him to earn or otherwise obtain money sufficient to compensate his victim rather than serving a full prison term, the district court has been given authority to institute this. Here, the District Court determined that if defendant was paroled, he should then pay restitution to the victim’s family as part of his parole conditions.
We conclude that restitution is an appropriate limitation reasonably related to the objectives of rehabilitation and the protection of society. We therefore hold that the District Court did not err in denying Bourne’s motion for correction of sentence.
Affirmed.
CHIEF JUSTICE TURNAGE, JUSTICES HARRISON and GRAY concur.
